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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA
 JOHN MAHONEY,
                                                            Docket No: 2:20-cv-03226-GJP
                                Plaintiff,                  NOTICE OF SETTLEMENT

                         v.


 F. MARKEL CORPORATION
                               Defendant.


Now comes the Plaintiff JOHN MAHONEY by and through counsel, to provide notice to the Court

that the present cause has been settled between the parties, and states:

   1. A settlement in principle has been reached between Plaintiff and Defendant and a

       settlement agreement (“Agreement”) is in the process of being finalized. Once the

       Agreement is fully executed, and certain conditions have been fulfilled pursuant to the

       Agreement, the parties will submit a Stipulation of Dismissal with prejudice, and without

       costs, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein request

       that the case be dismissed and closed.

   2. The parties respectfully request that the Court stay this case and adjourn all deadlines and

       conferences.


       Dated:    December 14, 2020

                                                      Respectfully submitted,
                                                      /s/ David S. Glanzberg
                                                      David S. Glanzberg, Esq.




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